Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 1 of 32

U.S. DISTRICT COURT - N.D. OF N.Y.

John M. Domurad, Clerk - Syracuse

dditional wish

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 2 of 32

UNLTED STATES DISTRICT COURT

 

 

_ NORTHERN DISTRICT OF NEW YORK

 

TAY BRADSHAW ,

 

 

 

 

 

 

Plainti fF, | — NOTTCE OF NOTION
= against -
PAUL FLETCHER, etal
Defendants
19--CV-0423 (BKS) (TW)

 

 

 

 

‘PLEASE TAKE NOTICE that pon the annexed aftidavit of Jay Bera dshaw, and

 

Exhibits anneaed thereto, dad uponall peior proceedings hac_he re toFore, oadate and
time +o be scheduled by the Catirt, bras scon thereafter as plaintiff can be heard,
platntt FE will imake a motiba atthe United States District Couct, Nocthern District of

New York, Syracuse, New York , for an ordec ope following celief z

 

4, Pursuant to Fed. R. Civ. P. ~tthl2, ioc celief from the judgment entered
in this action oo January 26, 2021 dismissing CASS of action arising “from incident 4, 5.

 

6aind 8 foc failure to Exhaust Adminis trative Remedies, ind to set aside the) iudlginent
cn the basis of newly discavered ewidence, or_ fraud and resentitie:

 

 

 

 

A “4, and qd): toe
2, Pursuant to Ee. RK. Civ P. Rule /6(a)(2) QO nok 1 tLe) leave to

 

  
 

Preed
amene mplaint tots, boheme assert ¢ claims‘eudthat relates back to the original

 

 

T pletng change sams af pci, os splennd epg i out occurentes

 

_ und event that happened after the original pleadings.

3, Pursiant to 23 f.5.C.8 j9i5(e)(1) for the Court fe order the appoinment af couns

ef

 

YW, Pursuant to Fed, &. Civ. & Rule 237 aad Local Rule 23.4, desigh ating this a-Ciess Action

 

Dated.’ Malone . New York
October 5, 202]
Bespec thu Ley subinithd,
Lo i

70 Jonathan _S, Reiner

 

 

 

Assistant Atterau y Genetal “te. Liu btadshas/
hel apito l Phewtitf ~ Fen. &2
Albany, Aleut Yor kK /22 24 DINE DR -A265 7

 

Upstate Grvectisnal Beility
Pb. box 2001, Malone, WY 1296

3

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 3 of 32

UNITED STATES DiSTRIceT COvURT
NORTHERN DISTRICT OF NEW YORK

 

TAY BRADSHAW,

 

 

 

 

 

 

 

 

Plaintiff, Pinintiff Affidavit In Support af Matin
- cigalinst - !
PAUL FLETCHER, et al
Defendants
_ | 19-CV-0423(BKS)(TWD)

 

 

 

 

T, Jay Bradshaw, affirm under penalty of perjury that:

 

 

4. Lam the plalatite and ant pince-ecling pf pre se_in the above - captioned mattec_L make

roa aside the judgment on the basis of

 

neadlisc vered evidence or Giraud and misvepresentation by defendants with respects

bo the cause of action arising From Lncident 7, 5,6 Gud 3 62) for leave dn Bile an | __

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change the name of parties, and fo suppiement the pleading te set out occurances and

 

events that occurred after the. orig inal pleadings 2(» Fir the Gauob appointment of

counseland (4) for class certificatinn.

 

2. This atfidavit is based oa pecsenal knowledge » I: have personal kocwledge of the facts

which bears on this motion because T am the piniatift i this matic,

 

Procedural Back ground

 

 

 

3, P iaintiff Say Bradshaw brought this civil rights action under 42 U-S.€, & i9¢3 assecling
Various clatms aicising out his Incarcecation at Upcta te Correctional Facil ity. (D+. Nold,),

 

4, On December 6, 2021, defendants Filed a partial motion far summary judgment under

Fed. R. Civ. P. 56 Arguing, inter alia, that claims for Inudent 1,5, 6 and 8 should be
dismissed For failure. to exhaust admignistrative remedies KE, Now 29)

 

 

5. On August 5 2020, Ue § MN. T. The rire wiley Danck issued a Report ~ Recommendativa

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fe comme nd jing phat Defenants metica for SUnaimaacy ju dgment be gran Fed in pact for

Eailuve_to 2xhausd administrative remedies with respects to claims for Incident 4,5,6

wd So

 

b. On September 14, 2020, plaintrFE Filed objections to the Re port - Recammendatien , and

 

2

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 4 of 32

&imotion far reconsideration on September 16,2020. (D+ Nos.46,49),

 

7, On January Ab, 2021, the Court adopted the recommendations in the report

 

 

 

 

 

 

 

 

 

 

 

 

And gvanted | in pact Pefendants motion for Summary judgment Smet dismiss FA
“claims for Licident 4,5,6 Gnd % For Facture fo exhaust administeative
Cemenies
Tneident 17
8. In defendants motion for Summary judgment, defendants fleged that plaushift

 

 

X did inet file a gtiewance. re garding Lucident 4. “ okt Nos;

 

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eacvl do Incident 1 but newer receiwed fucther Cespovise. Gi
thes , he vould wor exhaust his admmistrative remedies becouse 1k_wWas
—wnavailable Debyah did aceept the griewance.

 

LO. This Cou ict heid that plaints CE did mot file @ Grienance Celated +o Tucident 1.

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iL, Tn the ew Yori. Stee Supreme. Court | Albany, County, plaints £6 commenced aul

 

Civil Practice Low and Rules (cpie) Acticle Ts, in the nature of mandamus

 

 
 

 

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Cgrievance dated (etober 1, 2021) celated to # cident 4. (index No. C408 26),

eas PT

mn Mey-2 LOLA

_i2_. Tn response ta -daf plaimtiff 's Article 7% , Debyah submitted ak€idavet stati \B

+hat plawh tf gcieaiance related to Lacident t had been Filed and ass igne

 

Grievance umber UST-06423G6-|8. A copy of the filed Gicse vance was

 

___-ilsa disclosed as it was Filed Odaber 12,2018 , Eviena nee dated Octob
i, 2018 ; amexed hheceta as Exhibit “4%

wC

 

 

(3, eee vdants Committed Fraud _on the Court and plawtte by their delberate.

ea
SYP presention that plaintiff estes Cle a griewanee regard ing

 

 

Tea eat L.

 

 

Ee Debyah was divected by the Supreme Court by Decision and Order dated Tuly

 

3.

 

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 5 of 32

13,2021 te accept plaintiff 's appeal 4o the Superintendent as tumelsy.

 

_ On Faly 26,2.021, plaisti€f submitted appeal letter requesting +o appeal to
the Superintendaint, see, Appeal- Letter dated July 26,2021, annexed hecety as |Exhibit “2%
Debych aind Seguin newer Responded ty plaintiff's appeal

 

 

 

IG. On August 15,2021, plaintiff sub midted wppeal- letter stating thet he have
vot veceived a decisinn from +he Superintendent within tweaks days and
requested +to_appeal to_Centrol O€Fice Revi ead Committee Cone).

Appeal Letter dated August, annexed hereto as Exh ib: {*

_if On A ugust IG, 20; O21, plaintiff Spoke with Debyal about his appeals ond Dehyell
acknoviledged ve ceiot but stated they will not he ces porded dy or_exhausted. .

 

 

 

 

 

 

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13, Debyah and Seguin made detilnerate effects +. preweint plainhtf fom exhausting
jis advmunistrotive remedies. with cespect +o Tnedent 4 lay Fraud an

the Court and plaints FF with their de ibecale_wiscepresentabons.

 

 

 

 

Fraud cand

14, The Court should Consider that defendants, misrepresentation prevents A
plaintiff from Fully aind Fairly pre senting his. Case,

 

2.0, The Court should. there fore grant plontifl relief from the judgment
dismissing claim See for Trident 4 and 40_Ceshre the. came ‘

 

“Tweitdent 6 ow

 

_2i. Tn defendants motion for siimmacy judgment , defendants nileqed that piaintité did not

file q griewance, with respect to allegation i in Tncident @

22. In response to defendants” motion, plaintiFF arqued that SHU officers Failed to
Silhinit the girtevance, or the gre evince supervisors (Debuyah dind Seguin] Failed
to file it,

 

 

23, This Court held that plaintift did not exhaust administrative concerning Incident o, ___

 

24, As an initial mater, plainbift did file giriewance dated March 5, 2014 regarding
Tiucident 6. Due te the urgency of the gciewance complaint Plajuti€e coutd not wait
a week bp obbain copies from the jwlibcary.

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 6 of 32

25, Plaintiff also submitted « letter dated March 5, 2049 to the. Chaplain at Upstate
which was in substi hce related directiW to Tncident 6. (see, Letter da: ted Harch
5,201, annexed hereto as Exhiloit © 4) (Note 2 Plaintit? had to retrieve & copy
of this letter from_his estranged attorney Abrainam Schewel who was sent acopy).

 

26. Plaintiff also sent a Copy of his grievance dated March 52021 To Prisoners. Legal

Servites.

 

by letede: re Havch 42, 2084,

 

21. Tn response, Prizaners’ Legal Services acknowledged receipt of 4 giriewances. From
plaintiff, and indicated plaintiffs concerns that his gtlewances wece_inte rfered.

 

__with bi y [Eacility] shaft, avd forwarded a Copy of the. gicienanCes to Nr Sauther

 

PREA department. (see Letter dated Harch /2,2074, by Prisonecs’ Legal SELVICES ,
annexed hereto as Exhibit * 5),

 

 

—23._Tt 1s wacth noting thet the grievance. Supe rvis SOLS. Debisal and Seguin did wot File
plawmtitfs grievance. dated “Marcel 4 2021 Cecitaancen mune c UST- 5002 =

 

 

 

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aviewance was Fil

 

Need plawatitt +o write prisoner $ i egal SHviles,

 

 

 

 

 

v) 4 | RE
who then sent todo Te Let ed. Apel 22,2614 to Ne Sauther alan g

 

with copies of the oriewances. (see Letter dated April 22,2014, by Prisonecs Legal

Services, annexed hereto as Exhibit” 6),

 

30. Despite the dates the grie Mavices wee submitted Debyah wind Seguin did not File

the Giri ewance until after Pristnecs Legal Services sent letter on plaintifts

behalf, This is evidence thet Debych and Segisin intended vat to file the grievance

2G io

 

  

nd aise intended oct to File plait. cf Ss grievance dated

 

 

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March 5202) :elabng te ecient 8. hs ough they received sisbmsen g Grievance |

 

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4 — though he Clearly did—, the court shel Cons dec that Delyah and Seg Any
has also committed fraud on the court and £ mise preseathhg that

 

 

 

poh dd nt le qc dnt Hach 5,208 hl Tes incident 6,

 

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Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 7 of 32

 

 

 

 

~~ Gar meideaP 6 fir Failure fo. exhaust Ang shauld estore be. SAME...

 

 

_Tacident 3

 

 

 
 

35. In defendants jon fe Ham: graent, deFendan: fendants alleged that plaintiff

    

ad not ex us ;
ha f istrative remedies with respect fo [ncident 8 because he

 

  

did net appeal the Superintendent’ 's decision to CORCG

 

 

Eb. In esponse. tedefendaahs neti plaints EE argued thet Deloyata and Begin, the

 

Was adminseatine tomes aalase flan tiff.

 

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3i—This Court held that plaintiff did not esbaas! Msinisteat ve remedies concerning
2 Ful he exaptilee this action before he nppeuled. The Court

  

this . seg that plaiatfl b filed appeal of the Supecin headent-§& decision with respect
gh._to Incident g he he CORC:

 

“Wi pehyah ood Seguin get ba prac vt fo pracess plaints: LES appeal and rite interfered

 

 

with plaintiff access #0 the griewance process. the gritvance process is unavailable,

with respect to Lacident 2.

 

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34, “the Cour f Should consicler- i :

 

 
 

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40, Like wise, the Court should consider that plasn FEES effects te exhaust his administrative

 

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et +o Incident 8.

 

 

Deby a Ss tiad Seguin's fraud and mnizcep resenin tion prevent plaintift Erom Fuily and.

 

ely peng hi S Case,

 

 

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 8 of 32

 

 

 

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PART 2.2 Merten 1 TO AHEND AND SUPPLEMENT COMPLAINT

 

 

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44. Ruie i$ (a) (2) encourages the court te faoks, favorably Aa Mest 40 amend -

 

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ore ae tedden emcue the. riehts of anis of the "thee parties 40 the suit.

    

 

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regards 6-37
Here, with f to Lacident 4p plaints FE seek to nome dete defendant He 3

 

; upstate under the theory of Supervisory ry

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were dismiss without prejud ive, asd chefenet and ¢he Claims are being asserted within
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and turning a blind eye. +o tsar bia Cond uct of Officers at Ups: fate,

 

 

47 Further, with respect to Take Pe

 

 

 

Sherri Debyan, ain IGP Supecvisor at Upstate. fo ‘el, becate inde Becen
+0 his safely and p |

 
 
 

  

 

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andl appeals reloied te Zacideat 1, 5. band ¥ as required lay Cocrection Law

 

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dive process

 

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Amended Compialint.

 

  
   

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Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 9 of 32

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PART 3; Reguest For Certification pf a Class Action

 

Plainti Fe seek adeclatalors

 
 
 

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uitil such a date when the defendants are enjoined fram, oF otherwise Coase _
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Fallare io protect or fatlure fo intervene a vil ak for ef’ thet Eighth and.
fourteenth Amendment Aights..

 

 

52, The guestions of lain aad Fact are common to Hee each class member, Plaiat ifP

 

____{6 dn adequate representative v€ the class.

 

 

ss asa class

 

pursucik fe Fed, R. Civ, f, 23(4) 23(b), naming plaintiFF asthe class representatives

___and appointing qualified counsel ts represent the class and te conduct discevery|

[a this meter,

 

CONCLUSTON

 

 

This Court should grant the relief sought herein mits ent raty,

 

Dale: Malone, New YorK |
(cfober (5,202] - —

SER

 

Hr. Tay Bradshaw
Pialatiff ~ Pro Se
Din FOZ -A-S6S54¢
Upstate Corcectional Facitily
2. 0.Box 200, Malone, NY (2953

 
Case 9: 19-cv-00428-BKS-TWD- Document 94 Filed 10/27/21 Page 10 of 32
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Case 9:19-cv-00428- BSS {WD Document 94 Filed 10/27/21 Page 11 of 32

Exhibit © 2."

Toi Sherri. Debyah, Fee Supervisor ~~ Upstate Correctional Facility
From; Mr, Tay Brad shaw Din 708 ~-A-3654 boc? fO- Al- 1g
Date! Tuly. 26, Z2o2t ee

 

Re Grievance st UST ~ 642.36 —18 ( Bradshaw ¥. Aanucci, Index No: 6 40% - ~2p)

 

 

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ee

 

- Pursuant to the Court's decision and érder. dated July 13, 2024 =z write to inform

 

__-youthat T wish to appeal the EGEC decision dated November 7, 20149 to the
a Supers nlendent.

 

 

 

 

 

ir Jey Bradshaw
Grievant

 

Andrew W. Koster | ee _ oe

 

Assistant Attorney General ae . : “
The Capitol. .

 

Albany, New York 12224 Ce co

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Exh bit a -TWD Document 94 Filed 10/27/21 Page 12 of 32

 

dpe stide. Correctional Facility

 

    
 

From: 3 Hn Jay. Brn dshail =3654 Loc: IO-~Al-1¥¢

Date: August 15, 2021

Re 1 Grievance No. 6423: <1 ix_( Appeal. To. canes radshaw.v.. Aanucet, “Index

No. 2 640% -20)

 

 

TI write_in regards. +o the above-referenced gic eVance number 6423 6- 1S.

Pursaunt te the. Court's order dated July 13, 202] ( Index No. 64908 - -20), Ir

 

Submitted appeal dated July 26,2021 te: “the denial of my grievance to the
Superintendent. L have yet to receive a decisien from ‘the Superintendent,

___.within twenty - five days. want to appeal to the. CORC.

 

 

BP

 

Nr. Tay Brads histo
CCL ene

 

Ce? File

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 9: 119% -CV- OM 28 B BKS- yen Document 94 Filed 10/27/21 Page 13 of: 32

bos

To; Chaplain Chamberlain, 1 Menist erial Services ~ Upstate Correctional Facil lity

  

 

From’ fe. Jay Bradshaw DING og-A- 3657 Loe: Y- Al-O37

Defe ? March 5, 2019

Res. Ris K of Mtack and J eing Harmed _ -

 

 

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On Harch 5 5, 2019, GF approxinately jOam, T was tak en, out the cell | for on attoenes So

call. Feley Perez U7 RII) was my bunkies. When TE returaed to the cell, Perez

gon’ | and inmate Esc haver aes was “peek fin the cell. Exhaverria 5 subsequently a atin cte ceed,

 

me because of the crimes Thane been wonvicted of, which Ts Rape in the Firs Segree.

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a Know teat Quether inmate will be put in the cell and = will be attac red again
Nonethe le ss, the officers are placing individuals fn the cell desotte £ fact thet th ey

aire eseaware thet Twill be ot risk “of attack and being harmed. Ee again Se,
re assistan £2. ¢

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Mr. Di Z fag & Eira dss A and

 

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Case 9: 19: -cv-00428- BKS- TWD_ Document 94 Filed Lof27/21 Page 4 14 of 32.

 

Ste a — = tt t

 

 

 

 

 

 

 

Exhibit ™ Hh “PRISONERS’ LEGAL SERVICES _

OF NEW YORK
Executive Director 24 Margaret Street, Suite 9 Staff Attorneys
Karen L. Murtagh Plattsburgh, New York 12901-0456 oo
(518) 561-3088
Managing Attorney FAX -(51 8) 561-3262. . Law Graduate
Michael E. Cassidy a . Kolleen Duley

Privileged and Confidential
Legal Communication

March 12, 2019

Jay Bradshaw
O8-A-3654 —

P.O. Box 2001:

Malone, NY 12953-2001

Dear Mr. Bradshaw:

Good day. We recently received your letter and your documents stating that you feel that you are in
danger and that you fear that your grievances may be getting intercepted by staff. I have made copies of
your grievances and forwarded them to Mr. Sauther PREA department. I also requested that this matter
be investigated. I have enclosed a copy of this letter and your return documents with this letter. Please
keep us informed of any progress or investigation into your complaints and we can determine what
further assistance, if any, we may be able to provide.

Yours truly,

 

Kolleen Duley
Law Graduate

Michael Cassidy
Managing Attorney

Enc.
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 15 of 32

— Ey Mi | bit PRISONERS? LEGAL SERVICES

OF NEW YORK.
Executive Director 24 Margaret Street, Suite 9 , Staff Attorneys
Karen L. Murtagh Plattsburgh, New York 12901-0456
(518) 561-3088
Managing Attorney FAX - (518) 561-3262 _ Law Graduate
Michael BE. Cassidy . Kolleen Duley -

April 22, 2019

D. Sauther Asst. Deputy Superintendent/ P.R.E.A. Dept.
Upstate Correctional Facility

P. O. Box 2001

Malone, NY 12953-2001

RE: Jay Bradshaw (08-A-3654)

Dear Mr. Sauther:

Good day. This is a follow-up to the March 8, 2019 letter that our offices sent to you forwarding the
complaints of the above referenced individual, Mr. Bradshaw. Since our last correspondence, our offices
received an additional letter from Mr. Bradshaw suggesting that he has suffered another sexual assault
by a cellmate on March 11, 2019. He states that this prisoner was purposefully placed anto his cell to
“take care of him” and that he was threatened with being cut, if he didn’t “turn around and pull his pants
down.” Mr. Bradshaw fears retaliation from staff for reporting the assault, including corrections officers
whom he claims have threatened to “pull a stunt, say it’s a hang-up, and run into the cell.” Additionally,
Mr. Bradshaw claims to have reported the sexual assault to nursing staff, whom we assume are in the

‘position to report it to the proper authorities.

Mr. Bradshaw fears that his P.R.E.A. complaints and grievances have been intercepted by staff.
Enclosed with this letter are copies of his initial complaints and those pertaining to the incidents he
describes as occurring more recently. We ask that you process and investigate these complaints and see

that he is safely housed.

Thank you for your time in this matter.
Yours truly, ©

Kolleen Duley. Ph.D.

Law Graduate

Michael Cassidy
Managing Attorney

Enc, Mr. Bradshaw’s P.R.E.A. complaint and Grievance
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 16 of 32

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 17 of 32

LNT TED STATES DESTRICT COURT

__ NORTHERN DISTRICT OF NEW YORK
TAY BRADSHAW
Picintit CLASS ACT TON

 

 

 

 

 

 

, = against ~
DOAALD UHLER, NATHAN LOCKE. WES (TNCOLN,
PAUL FLETCHER, ROBERT GOLLINGER , CoMPLA LN T
ADAM GALLAGHER . JosHuA WALRATH, Baise.
TREVOR TENE YcH, PAUL WooDRUFE, dames TROMBLEY. Jury TRIAL DENANDED
__ fo MICHAEL Eppy, JAMEs HEALY, DARRIN JEFFERY,
KEVIN ST. MARY, MATTHEW WELCH and Sergeant JonN
DDE, SHERRT DEAYAH, BRANDON NICHOLS | 4: 19-CV- 0428(BKS)( TWD)
Defendant

 

 

 

 

 

 

 

 

 

 

 

 

nkiffs an

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 18 of 32

er 42.0,.5.C 88 i331, i343 aad 13e7,

 

5. Vente is proper in this Court pursuant to 29 U.S.C, § i3ai(b).

 

JURY DEMAND

 

 

©, PiamtiFe demand trial by jury oPallissues jw this matter, Fed. R. Cry, P. 3g.

 

PARTIES

 

haw wan alt ‘tonne retenants

 

Is a named vrseectatuans at tives of this proposed class action

 

 

 

 

q, Detendent Paul Wordry FE 4& the Depiutis of Security atalitimes relevant , Gnd is responsi ble

for the policy , practice, procedure, supervision, implementa tien and conduct of all

 

 

 

10, Defendant Nathan Locke, Wes Lincoln, Robert Gollinger, Adam Gallagher , Joshua Wal ca
Tirever Teneych, Jame Trombies ; James Healuy Darrin Jefter -y , Kev in St Mary Gind

thn elie conaation toees pleat pete Tice ad intial ;

 

iL Defendant Paui Fieicher is

in his individual capacity,

 

 

12, Hefendant Michael Eddy isa correctional lieutenant employed at Upstate. ide ts | ___

sued in his individual capacity.

 

te, le

 

13, Defendant Sergeant Tolan |

issued ln his individual Capacity,

 

@
4, Defendant Sherri Debyah ig tS. grievance, Super visor at Upstate » She (s sued
in her individual Capacity.

 

 

iS. Defended Brandon Nichals is emploued at the Depactment of Cocrection and

 

2

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 19 of 32

Community Siipervisdon (“poces) Inspector Genural Office. le is sued in

 

 

Mis \ndividual capacity.

 

ber FACTS

 

 

Tacident1

 

 

eon ef

 

 

 

Lb. On September 28,2018, ut about 5:30PM. defendant Locke prawght Sate

 

cell_iwmate L, who_attacked another inmate inefore being | placed in the cel
with plaints FF,

 

 

Loc| &

  

VL while in the cell, Danake Tinto bed * You can get hint

____ Plaiattee |” ba ve ans sant dhal pnale-T ntented ta inck-auy prise hel

 

was placed in the cell with and did vemain in front of Lhe cell for whowt Five
(5) minutes — perhaps anticipating the attack

 

oln en rounds aad steted * T do not waat to!
Cemain in ‘the cell with im ht T want to see the sexgeait to he moved , oc

I wil attack him [Plainti .
fespended * Do what You Want to do," then walked away.

 

 

if. Lhimates in the at adjoining cell urged iumate 7 +o attack plainti tf and stated

 

She | plainti ce] | is. a snitch and_a rapo (convicted of cape).

 

 

 

 

 

 

 

 

 

 

} lati FE.

 

 

; Doe *
24, Defendant sergeant fecommended, and defendant Weedruft approved, for inmele J, whe they

 

 

3

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 20 of 32

 

if harm te plaivs 1

 

25. On October 1, 2021, plaintiff submitted grievance regarding this attack and stated

 

__that it was orchestrated by defendant Locke.

 

 

 

 

 

directly-to-tter
f; Compiling enst ule de Decale indi eerenee;—

   

 

 

 

 

senshi ition al rights — all te his detriment.

 

Tncident 2.

 

 
 

j etd gong member

eee ie labled la to

 

Gouble panik cell

   
 
  

Piainti FF
was hot gang affiliated.

 

 

 

 

cbt Locke.
J

 

 

 

 

 

  

b od attack. FiaintiFl was issi

 

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 21 of 32

 

 

___a miskehavter report for refusing @ dadihie- bunk cell.
34. This scum: 2 d he was ‘the

 

Bay pltiisn: . ‘ ; ip f 4 y 2 5 -
~suljected te cnorchesiraed ablack bi defendant Lecke tad vis oar of being.
___ Attacked again in the double - bunk cell since his is vulnerabje to attack.

 

 

Da October 2,20/%, defendant Fletcher along with several officers brought inmate Burton

into the recreativn pen — which is never done — and hog tied him und opened ihe

 

____ recreation dear connected 4a pladati Fe § ceil,

 

36, While in the ceil, inmate Burton told d sfendant Fletch er that he would beat piaintifé up

 

 

——tehen_his acins gel better —Defendank Fletsher claugived and sinted * T know", as be.

walked away,

 

 

37 omatesin te adjnining- coll arged Temale Barton in attack plain €F ane stated

   

 

 

 

 

 

 

 

 

 

 

 

inhi no pt A hed Cane.
fo vollect the trays

 

[OAT

 

3, _Ad abou: is atheney whe

4

 

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 22 of 32

LnotiFied a counsellor whe relayed it

 

   

double
Git-” brunle cell.

 

 

44, Plaintif€ was subsequently seen by medical staff. Plainti Ff Sil fered a 2‘/z tach

 

“headache, joss OF ¢ eSS . pebing | er ; cee ahout his

 

— body aind seemingly high blovd pressure

 

45. Defendant Fleicher knew that was Vulner ing i
cell based on plaintiff ‘s history and criminal case, lo aldition to the fact that
inmate Buirtonte Vowed fo him that he would attack plaintiff.

 

 

 

 

Ho, Defendant Woodruff knew that plaintiff was vulnerable to an aHack In a double-

‘bunks ceil based on plaintiff s history Gnd criminal case.

 

“7, Defendant Fletcher aad Wood ru tt bnew Hat inmate Burton was a member of

 

the Blood gang and that ploiat iff Was labeled a snitch by the Blood gang, bit
disregarded the substantial rist ts plaintiff > safety by phrimek placting bim th
the ceil with a known ## Biood member.

 

43, On October !2, 2048, plaintiff submitted grievance regarding the officers failure
__ + intervene and Fletchers haragsment, The grievance was forwarded todefendape

Ubler on October 17,2028 for iavestig ation and_decigien, Ubler took no disciplinar
\actions against the officers or Sergeant for their reckless Conduct and othecwis

£.
No Nd

condoned their behavior:

 

rain subordinates in how to

 

 

asant employers .

 

 

 

- | ; & , A ps pigs ‘ sO vg . , Bn af Lo anate

50, As a result of the foregoing, plat tf suffered, inter alfa, physical injuries emotions
distress, embarcassment , humiliation and deprj vation of his covsti tutional clghts=
ail to his detrimest-

 

 

T NAcident 35

t

 

Si, On January 8, 2018 , approximately 7: 3.0 AM, _ defendant Fletcher toid plainti fl
ST am giving you a new bunky, oa he will handle you",

 

6

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 23 of 32 -

 

52. At this time, p plaintiff was in double - bunk cell with un i bis . wilao was. ion

gana affiliated, 0 Mi Ncw i Vit AimBiNG

 

 

Gang. assaulted an bad imucied a (LS “0. Ceeulk

 

le ana q, Let 4, at about 4A, at the direction of defendant Fietcher and
out the cell.

 

 

 
   

Sr

Wria it was piesent in tne cell.

 

 

d plaintiff tat he work foc Fletcher far extir a food trays

 

yp pny and de inet get in_troulole. for i+, Tnmate

4 by Teombiey

 

 

 

St,_Tt is worth noting tat prior to |uncl plain A ea otto that Fletoher,

     

 

——wha-iuas alsa present, Hee placed inmake Mei y Whats own {Broo Yo Blac @ epi

 
 

pce it sc dae fal lng ith Fletcher wha ade eackag |

faciul jestures ot plainit Ff

 

 

 

 

au lp! ai and sth pli ing bind

but failed te intervene.

 

54, At about iA... when lunch was served, plaintiff Prevented the cell hatch from closing

 

~_becuus@ defendant Trombicy and ST. Haty disregarded plaintitts apparent facial |

 

injuries «sustained as a result of being atincked., ahd plaintiff's request for
medical breatment andthe sera: éants presence.

 

 

_to0. Defendant ST, Mary radioe t plaintiff refused to Cloce the sict, put
did not report thet plaintift wus attacked ec injucied..

 

 

 

I

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 24 of 32

ined Gnd was referred to an outside Hospital

 

for further ewaluation, Plaintiff suffered temporary hearing loss in his right ear right
bruised ribs, dbrasian on lower lip, cut to left eye. with bruises and abrasjons, a bite o
the face. pain to right jaw.

7s GT

 

assaut: ibted te the

 

 

 

{ abd sp informed the doc i. wha inidiully. examined him that
____ he was a sexually assaulted

 

 

the substantial risk of harm to plaintift

 

oH. Defendant Fletcher, w ha apes Cecommended., ad defendant Woedcutt, wha appmnved fac|

 

nei whe e they knew Was a meinber ef the _Bloed gang, to be placed i ina deuwble- bunk cell

 

_ risk af harm bo plaintifE.

BT garded the sibsta vahal

 

65, On January lt, 2049 , plamtitf submitted grievance regarding the assaults and the

 

   

. - . : i . nd, sergean ok .
disciplinary actions against the officers foe Gere foe bineie reckless conduct
fad Lites otherwise condoned their behavior.

 

 

66. Defendant Uhier Faled to ade quately supervise and train siloord inates in how 4

 

intervene +o protect prisoners frown asscualt by other prisoners ; Gbd_by fai ling
ta discipline malf easant employees .

 

67, Defendant Nichols also conducted Gn nye stigation Nn of the incics dent and d_cendered
B degision, Nichole pur pos Tilli :

 

 

which depict each defendant Ciealy, Jeffrey , Walrath and Toms stop cu, plainti HFS

cell during their pounds, Git Teombiey aid ae jet for pete
_inptebes the fact that plaintiff Was “atte ked, and several prisoners including

piaintifP Shouting 21 ceil (piatntitt 's cell need emergency medical assistance.

 
   

 

G8. Despite clear evidence fo support plaintiff's Claims, Nichols intended fo discredit

iainti€®S allegations bs lyin

 

; is lay inmefe iiréght Gort

 

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 25 of 32

 

 

 

 

 

-_ ewel onal distress

‘fons +)-tuH onal rights — all to his detriment.

 

Taneldent 4
inceicenr—t

 

 

Le. — te ue oa

ufipacted his property while he remained in the cell for approximately six hours.

 

 

 

 

 

 

 

 

 

 

 

disregarded the cubchaatial risk of hein te plaints Ce.

 

 

_75._0n March G, 2021, plaintiff submitted grievance dated March 5, 2049 cegard ing

 

this incident. ewe dann eth nu apna inal peat}

 

 

gci Wwaniz dated ai5jii due fp wvgency of the situation, ny ete oil to send it- to she iw lb ryan wal
ite Cees at risk of attack and

Warm nthe event on another prispner is placed | in the ceil wth him:

 

 

DUE the,

ol vleek for copie

 

 

 

 

A i
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 26 of 32

      

that nlainti ef hac lained that ih was attacked in a doulele ~ bunk

cell by another prisener because of the. action of officers. Consequent yy

; oR
Si n placed. i iN

 
   

the voll with pists”

ese

 

79. Defendant Deby ; lure to & CS policu and requlation consti
deitberate indifecence to plainti£t * ‘ saeety, especially when plaintiff
was attacked again 4tter Has taeidein inmate E

bod

 

 
    

as Ceguired by by 7 NYCRR § 70),.5 which implies
fespect bo the renuivemaeats

 

 

 

 

  

 

his issues to ripen them for Ceview before the court

 

 

__ distress, embarrassment, humiliation and deprivation of his constitutional rights — all
to his detriment. :

ph ysical injuries emctiona)

 

Incident 5

 

—————<

 

83, On March Il, 20/9, at approximately 8: 308.4, defendant Fletcher directed officers to
bring inmate. Cohb Into the cell through the cecreation pen Cwhich i is never done).

 

 

 

for defendant Fick her for extra ma and when he ved hs sheakers. the ball will tact

 

rolling.
J fl

 

“Gh. Ou Mace 13,2021, defendant locke emuphl C Cobbs ta get his property. when Cobb returne

d

 

10

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 27 of 32

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

his ineoal was hit against the gate and immediately began +o bleed, Welch aad Gallagsrer  _

were compelled fo_briag plainti fi_dire ctly fo meclivaltor the head linfincy.

 

 

 

 

 
 

ffered a l.5 cm skin tay or
ulted.

 

 

Gi, Defendant Fletcher knew and encouraged inmale Cobbs te attack plaintiff and disrey arded
the substantial rtsk of harm to plaintife® 9

 

92, Defendant Fletcher, who recommended. and defendant Wendruft. who approved for
inmate Cobbs wha they knew is a Piood gang member, to bz plaintiff io a double bual
cell with plaints FE, wh they knew was labeied a snitch boyy the Bdood, disregarded

ri to plainti FF,

os *

 

Ft uve!

, Fetter ———_______ ;
93, Tt is worth ioting tat on February 26,2019 jlefendant tell plaintiff that his request

. . “
for protective custody.

 

 

44

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 28 of 32.

 

 

44, On March 22,2099, piaintif? submitted grievance. Cegarding this AssGialt aad the.

officers conduct.

 

 

 

ant employees.
rg

 

, . Pry ae on 5 “ * vA ' ws
97. As a result 6f the foregoing , plaintiff suffered, inter alia, physical injuries, emstional
distress, embarrassment, humiliation and deprivation of his cansti tutional rights ~ all

+, his detriment,

 

Lncident 6

 

$8. Oa Mech is 20/f,, ataparoximately GAM. plaiati¢e ids brought out of the cell fora

 

 

 

 

 

 

 

 

floor back tb the Ce il.

 

jdt. Because plaintiff head was hit nie st the te jae “tnd dented ithe began bo bleed,
edical Fer hic

 

head iviury.
wT

 

(102. Plain A sustatacd ao abrasizn fo
pains as a result,

 

 

i03. On April 26, 201%, plainté ke git wwGnce dated March 22, 2079 regarding the_cdefend
unnecessary Use ie force, (lasses, Phis wes forenrded fb defendant hler per
DOCCS ‘policy and fegula tion. tor id vestigatiea aad decislen. However, defendant

bink

 

12.

 

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 29 of 32

Uhler took no disciplinary actions against dhe Of Ficers tor their reckless conduct
Fo

and otherwise condoned “their behavior.
on the

Defendant Ubler Failed to adequate. ty Siu per vise and train Subordin ates aloe

1o4.
- U§e of
u Feiling te discipline imal fea sant einpleier. se

   
 

Qn June 26,2014, plaintiff submitted . via facility mail, do defend ant
Debiah his appeal of them [les decision. Upon infor mation and belief,
at Upstate , grievances are enveloped aid inserted } in the backed marlhox |

the presente of the prisoners buy the officecs wha comet access the mailbox
themselves lost forward the malloox 45 Administration (Civilian Staff) who

distribute the mails.

 
 

“Thus atter Administration fecward plait

 

LOG,

 

 

plainki£e / S appeal i piéeuleint plainti fF fron exhausting aduainistrative

remeron remedies with vespect +0 these Claims .

107, Defend gat Debyah s interference with plaintiff effort to submit his appenl
prevented plainti fF _Erom Fully ayy} foucly preset vg WS Case,

a ea
lds as Ceauyed bis WNYCR

(og, Deby tled ¥
§ 761, 5 hush implies that Deiyeb had vob discre boon with fespect by the (equi

109, Plainh tf have a state - created liver by interest in the grievance procedure due
and urpose of the

   

 

to the foct that New York State |
Inmate grigvonce process within the (accectinn fads 18 139 and 7 WYCRRS

J
7oOl, | é+ 32eG 4
— — i

Ha, By Design’ s Failing ty adhere +o +he-same:. Texhousho no} Cee wires ments that is
demanied of plaintsft 4p Follow +e fal 4 ‘to allow nlainbifl” +p proper ly exhaust

J
hese. Cemedies plainti ft 1S very vyich denied his cigl ht toa procedival Awe
process in deve loping lie, isc es to ripen For Review before the Couct,

 

 
   

reqomng,

. ‘a
lit, As a vesult of +he foe
conghi ditional gts — a\\ jy lnis detrim ent,

13

 

 

Whiakion and deprivation ot Iris

 

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 30 of 32

STATEMENT OF CLAEMS

FIRST CLAEM ? Plaintifl assert First Amendment retaliotion claim aqamst defendent

Fletcher

SECOND CLALN? Plaintiff assert Eighth Amendinesat excessive force aud failure to
intervene. cl

 

J y “
THIRD CLATH: Plainki FF assert Eighth Amendment failure = ta- ~protect ciaims

Against defendeat jocke., Lincoln , Fletchers, Gellinger , Gallagher,
Wa lca th Trombley , Eddy itealy, Jeffery , ST. Hay

Dee. | -2, Unler and Nichols and Debyah, “Weodica EE, Temeych

FousTi cLALN: Plainti ce assert Fourteenth Amendment “procedural dite. process s claims

agains: t defen dwt De bis ab.

 

Redief giles sted

/ Welein, Sergeas,

+

 

 

WHERE Foxe , plainti ft requests that the. court gunk the Bulloiting relief 2

 

 

 

 

 

A. Issue g declaratory. judgm wok stating that:
4, The unnecessary ferce by defendant Welch and Gallagher violated plaintiff 4
clyhts unde te Eight Arnsindm tt bo the Uailed Shales Constitution .
a aH és

 

 
 

ke action to prevent exce ssive force of

 

prisoness viciated plaintifé 5 rights under the Eighth Amendment tp the

 

ini ted States Constitution

3, Defendants” Locke, Lincoln, Fletcher, Gallinger, Gallagher, Walvath, Teneych,
Woodruff, Trembley, Eddy, Healy ,wve FEery

Ubier and Sergeant Doe. ry -2 oe
4 Defendant Ublex and Nichels “Failed to -taice
of prisoners violated plaiatifES rights
Lnited States Constitution
BR. Tssue an injunction ordering defendant Ubler, or his agents to *

Transfer plainti fe FE Grou Upstate to another facility wi Hii DOCcs

PS

 

ST. Maru eich Dehisah Nichals
ws Ft SF 7 Js 7 7

 

 

 

 

 

 

 

CLA CLION .
C, An Court order certi Fyiing this clase as a clase action pistsiuauk fo Fed .R

hen. la ,
Civ, P. 23(a),23(b), haml ft athe ne Fee eer tat Ves,

  

i4

 
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 31 of 32

ZA judg in eat declaring defendant é policy, practice, procedure, anu
excessive
q £ for-ce., and failure to protect and/or

custom of unnecessary Uge a
intervene on inmate - on - inmate assaults i LS Uncon shitu tional
3. An order el |dini ng dete in dauts” policy, practice / procedure, and

custom of unnecessary and excessive force, 4nd failure to protect and /

assaults tn Leeepiotely C¥.ASL.

D. Award of Campe nsatery damages agains all defendants, jointly gud. severally .
Award punitive damag ins inclivicli ndant nae osu bo be dekermingd

levy hi jury,
___F. Award of reasonable athorney's fees and costs +o class counsel
Such other and further relive as this cowrt shall Find just and proper.

 
 

_ Dated i Dcteber 25,202!

_Nalone, New York

ZL dectare wader penalty DE per) wiry that the fare going is true and correct

—GP»..
CSS Ce

Mr. Tay Bradshaw
latati-Ll - Pro Se
DiN: O& ~A-365Y
Upstate Correctional Facillty
£6. box 2001
Malone , New $rk (2953

 

 

 

 

 

 

 

 

 

 

 

1S
Case 9:19-cv-00428-BKS-TWD Document 94 Filed 10/27/21 Page 32 of 32

 
